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                       Exhibit A
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION


  MAXELL, LTD.,
                             Plaintiff,                           Case No. 5:19-cv-00036-RWS
  v.                                                              JURY TRIAL DEMANDED
  APPLE INC.,
                             Defendant.


                DECLARATION OF SAQIB J. SIDDIQUI IN SUPPORT OF
             MAXELL, LTD.’S MOTION TO AMEND THE PROTECTIVE ORDER

 I, Saqib J. Siddiqui, hereby declare and state as follows:

        1.      I am an Associate at Mayer Brown LLP and counsel for Plaintiff Maxell, Ltd.

 (“Maxell”) in the above-captioned case and have personal knowledge with respect to the asserted

 patents and accused functionalities in the German Proceedings between Maxell and Apple.

        2.      The functionalities accused by Maxell in the German Proceedings include at least

 FaceTime, position calculation, AirDrop, WiFi and Bluetooth communications in iOS devices.

        3.      At least FaceTime, position calculation, AirDrop, and WiFi and Bluetooth

 communications between iOS devices have also been accused in the above-captioned case. See

 e.g., Complaint (Dkt. No 1) at ¶ 24 (position calculation); ¶¶ 66 and 139 (AirDrop and WiFi and

 Bluetooth communications); and ¶ 96 (FaceTime).

        I declare under penalty of perjury that the above is true and correct and that this Declaration

 was executed on October 2, 2020 in Great Falls, Virginia.




 Dated: October 2, 2020                        By:    ____________________________

                                                              Saqib J. Siddiqui


                                                  1
